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      1                  IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS
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      3
          In re: PARAQUAT PRODUCTS             )
      4   LIABILITY LITIGATION                 )
                                               )   Case No. 3:21-md-03004-NJR
      5                                        )
          This Document Relates to             )   MDL No. 3004
      6   All Cases                            )

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     10                     TRANSCRIPT OF STATUS CONFERENCE
                                 (via Videoconference)
     11
                      BEFORE THE HONORABLE NANCY J. ROSENSTENGEL
     12                  UNITED STATES CHIEF DISTRICT JUDGE

     13                             DECEMBER 3, 2021

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     24     Proceedings recorded by mechanical stenography; transcript
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      1                    (Proceedings began at 10:03 a.m.)

      2                          ***********************

      3             THE COURT:     Good morning, everyone.    Looks like we

      4   have got about 98 participants on.       It's a few minutes after

      5   10:00, so I would like to get started.

      6             Deana, if you would please call the case.

      7             COURTROOM DEPUTY:     The United States District Court

      8   for the Southern District of Illinois is now in session.

      9   Chief Judge Nancy Rosenstengel presiding.        The matter of In

     10   Re: Paraquat Products Liability Litigation, v. Syngenta Crop

     11   Protection, LLC, et al., case #21-md-3004, is called for a

     12   Status Conference.

     13             THE COURT:     All right.   Well, good morning, everyone,

     14   again.   Happy Friday.    I first wanted to express my

     15   condolences to Mike Miller's family and for everyone here who

     16   knew him and worked with him.      It was quite shocking and I was

     17   very sad to hear that, and I extend my sympathies to everyone,

     18   especially his wife and family.       Just another reminder of how

     19   precious life is.

     20             The first thing I want to talk about is just general

     21   case filings.    Cases continue to come in.      There were a number

     22   of dismissals filed and we got all of those processed

     23   yesterday, so I think we are still right around 400 cases.            I

     24   urge everyone who has unfiled cases to get them on file.          We

     25   are moving right along, and if you want your case considered



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      1   it needs to be on file and get the PAQ completed.         And, you

      2   know, I want the cases on the docket for many reasons, so I

      3   just encourage you to get those filed.

      4             I would like to get a report on state court filings.

      5   I try to keep up-to-date on that and keeping a close eye on

      6   what's going on in California, specifically.

      7             So, Mr. Naresh, could you give an update for us on

      8   the state court cases?

      9             MR. NARESH:    Sure; happy to, Your Honor.      Ragan

     10   Naresh for Syngenta.     At this time there are state court cases

     11   pending in California, Illinois, and Florida and Pennsylvania.

     12   There are no longer any cases -- state court cases pending in

     13   Washington State as of the Court's dismissal order last week.

     14   In California we have approximately 41 cases -- 41 active

     15   cases.   There are seven cases in Pennsylvania state court,

     16   there are two remaining cases in Illinois state court that are

     17   active, and one in Florida state court.        That's essentially a

     18   summary of where we are, Your Honor.

     19             THE COURT:    Okay.   And, Mr. Baghdadi, can you give an

     20   update on what's going on in California with Judge Weil?

     21             MR. BAGHDADI:    Certainly, Your Honor.      Khaldoun

     22   Baghdadi for Plaintiffs.      We have the next Case Management

     23   Conference on December 7th before Judge Weil in Contra Costa

     24   County Superior Court.     The parties have submitted and

     25   stipulated a proposed coordination order which was circulated



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      1   among counsel in the cases in the JCCP.        Having received no

      2   objection, we anticipate Judge Weil will likely go through the

      3   coordination order and frame any questions for us or any

      4   remaining issues that he has, but we are optimistic that he

      5   will be -- hopeful that he will be entering the order soon

      6   either at the conference or shortly thereafter.         We have also

      7   submitted our competing general ideas of how we would want to

      8   work up preference submissions or bellwether submissions or

      9   potentially a hybrid thereof to the extent that we can make

     10   that manageable.

     11             So, the next case management conference is next week,

     12   and we look forward to seeing Judge Weil and hopefully getting

     13   the order entered so that we have coordinated discovery moving

     14   forward, Your Honor.

     15             THE COURT:    Okay.   Sounds good, thank you.

     16             Mr. Naresh, could you report on the state of

     17   discovery to date and depositions that have been set?

     18             MR. NARESH:    Yes, Your Honor.     Syngenta has submitted

     19   its responses, the written discovery served by the MDL

     20   Plaintiffs as of November 30th.       The interrogatory responses

     21   were served.    We have received a deposition notice, a 30(b)(6)

     22   deposition notice from the Plaintiffs, as well as two 30(b)(1)

     23   depositions from the Plaintiffs.       We have exchanged

     24   correspondence on those with the Plaintiffs, the meet-and-

     25   confer process is still very much underway.        I don't think at



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      1   this point either side has any issues that are ready for Your

      2   Honor to resolve, for Ms. Ellis to resolve.        We have

      3   tentatively scheduled two depositions, one in late January,

      4   one in early February, covering the majority of the topics

      5   sought by the Plaintiffs.       One will be January 25th, and one

      6   February 3rd, subject to final confirmation from the

      7   Plaintiffs.

      8             THE COURT:    Well, just like all discovery issues,

      9   meet and confer, meet with Randi, and anything that can't be

     10   resolved she will bring to me and if we need to set a status

     11   we will do that.    So, thank you.

     12             Common Benefits.      Ms. Doles, can you give us an

     13   update on where we are on the Common Benefits?

     14             MS. DOLES:    Yes.    Good morning, Your Honor, Sarah

     15   Doles on behalf of the Plaintiffs.       In accordance with CMO No.

     16   9, Your Honor's Common Benefits Time and Expense Order, the

     17   first submissions are due December 15th.        The portal

     18   administrator who is also administrating the PAQ portal has

     19   set up a portal for the time and expense submissions, and that

     20   is nearly final and we expect it to be ready for a demo early

     21   next week, and so anyone involved in making those submissions

     22   is encouraged to attend that demo and I can -- I will be

     23   sharing that information with Plaintiffs' counsel.

     24             THE COURT:    Okay.    All right.   Thank you.     So, I have

     25   reviewed the parties' submissions on bellwether selections and



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      1   I have been working with Ms. Ellis at length on that and I

      2   hope to get an order out later today, certainly by early next

      3   week, but hopefully later today on that, as well as the

      4   schedule for moving forward.

      5              So, again, we need to get cases on file and we are

      6   going to move forward on that, as well as the scheduling

      7   order, so that we will have a plan in place once that gets

      8   entered.

      9              The PAQs -- There's deadlines for getting those on

     10   file.    And working on the deficiencies, Defendants can weigh

     11   those and Ms. Ellis will work those out.        But, the better you

     12   do on your PAQ, getting all the information in, then that is

     13   good.    My plan is to set forth the bellwether selection plan,

     14   basically how we are going to pick some cases, limited facts

     15   discovery, I will define what that is so that we can move

     16   forward on a handful of cases and then narrow it down from

     17   there.   So, again, I expect that -- I will get that entered

     18   soon.    That will also talk about disclosure of expert

     19   deadlines and moving on, then, for additional discovery once

     20   we have narrowed down to a certain amount of cases.

     21              So, we had previously set status conferences on

     22   January 7th at 10:00 a.m., and February 4th.        I'm going to go

     23   ahead and set the next one, as well, March 4th, also at 10:00

     24   a.m., just so that we have those on calendar.

     25              For the time being I intend to keep doing these by



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      1   Zoom.    I think it's efficient and cost-effective and we get it

      2   done, they are not too long.      There may come a time where we

      3   need to be in person, but I think for now this is working to

      4   keep me updated.    I am in constant communication with Ms.

      5   Ellis.   Like I said, we have been working on the bellwether

      6   selection and the schedule and I think we are in a good place

      7   to keep on track.

      8               So, that's all I had to cover.     So, Happy Holidays to

      9   everyone.    It will be a new year when we meet again.        Stay

     10   safe, keep working hard, and we will talk again on January

     11   7th.

     12               (Court adjourned at 10:12 a.m.)

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      1                          REPORTER'S CERTIFICATE

      2                            *   *   *   *   *   *   *

      3      I, Stephanie K. Rennegarbe, RDR, CRC, Official Court

      4   Reporter for the U.S. District Court, Southern District of

      5   Illinois, do hereby certify that I reported with mechanical

      6   stenography the proceedings contained in pages 1-10; and that

      7   the same is a full, true, correct and complete transcript from

      8   the record of proceedings in the above-entitled matter.

      9

     10   /S/ Stephanie K. Rennegarbe,                         12/06/2021
          IL CSR, RDR, CRC
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